                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                                Charlotte DIVISION
                         DOCKET NO. 3:20-cv-00144-FDW-DSC


 Siobhan Hanna,                            )
                                           )
                Plaintiff,                 )
                                           )
        vs.                                )                        ORDER
                                           )
 Silencio Global Inc.                      )
 Ray Simpson Farris III,                   )
                                           )
              Defendants.                  )

       THIS MATTER is before the Court on Plaintiff’s Motion to Compel Discovery Responses

(Doc. No. 11), Defendants’ Motion to Compel (Doc. No. 13), and Defendants’ Motion for

Extension of Time of Scheduling Order Deadlines. (Doc. No. 20). After reviewing the Motions

and supporting documents, the Court hereby ORDERS the following:

          Plaintiff’s Motion to Compel (Doc. No. 11) is GRANTED. Defendants are ORDERED

           to promptly provide complete responses to Plaintiff’s requests for interrogatories and

           document production.

          Defendants’ Motion to Compel (Doc. No. 13) is GRANTED. Plaintiff is ORDERED

           to promptly attend an in-person deposition and respond to Defendants’ discovery

           requests.

          Defendants’ Motion for Extension of Time of Scheduling Order Deadlines (Doc. No.

           20) is DENIED.

          The Court further ORDERS the parties to complete discovery by November 11, 2020

           and to submit all dispositive motions by November 18, 2020.

       IT IS SO ORDERED.                 Signed: November 4, 2020




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